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    In the United States Court of Federal Claims
                                   OFFICE OF SPECIAL MASTERS
                                           No. 19-78V
                                          UNPUBLISHED


    VALORIE SCAMYHORN HODGES,                                   Chief Special Master Corcoran

                         Petitioner,                            Filed: August 19, 2020
    v.
                                                                Special Processing Unit (SPU);
    SECRETARY OF HEALTH AND                                     Damages Decision Based on Proffer;
    HUMAN SERVICES,                                             Influenza (Flu) Vaccine; Shoulder
                                                                Injury Related to Vaccine
                         Respondent.                            Administration (SIRVA)


Michael G. McLaren, Black McLaren Jones Ryland & Griffee, P.C., Memphis, TN, for
petitioner.

Linda Sara Renzi, U.S. Department of Justice, Washington, DC, for respondent.


                                 DECISION AWARDING DAMAGES 1

       On January 16, 2020, Valorie Scamyhorn Hodges filed a petition for compensation
under the National Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq. 2
(the “Vaccine Act”). Petitioner alleges that she suffered a shoulder injury related to
vaccine administration (“SIRVA”) caused by an influenza vaccination administered on
October 5, 2017. Petition at 1. Petitioner further alleges that she suffered from the
sequalae of her injury for more than six months, that she has never received
compensation for her vaccine related injuries, and that she received the vaccination within
the United States. Petition at 1, 4. The case was assigned to the Special Processing Unit
of the Office of Special Masters.



1
   Because this unpublished decision contains a reasoned explanation for the action in this case, I am
required to post it on the United States Court of Federal Claims' website in accordance with the E-
Government Act of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of Electronic
Government Services). This means the decision will be available to anyone with access to the
internet. In accordance with Vaccine Rule 18(b), Petitioner has 14 days to identify and move to redact
medical or other information, the disclosure of which would constitute an unwarranted invasion of privacy.
If, upon review, I agree that the identified material fits within this definition, I will redact such material from
public access.
2
  National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for ease
of citation, all “§” references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. § 300aa
(2012).
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      On March 27, 2020, a ruling on entitlement was issued, finding Petitioner entitled
to compensation for a SIRVA. On August 18, 2020, Respondent filed a proffer on award
of compensation (“Proffer”) indicating Petitioner should be awarded $48,518.95
(comprised of $45,000.00 in pain and suffering and $3,518.95 for past unreimbursable
expenses) and $648.05 to satisfy a Medicaid lien. Proffer at 2. In the Proffer, Respondent
represented that Petitioner agrees with the proffered award. Id. Based on the record as a
whole, I find that Petitioner is entitled to an award as stated in the Proffer.

          Pursuant to the terms stated in the attached Proffer, I award Petitioner

      (1) a lump sum payment of $48,518.95 (comprised of $45,000.00 in pain and
          suffering and $3,518.95 for past unreimbursable expenses) in the form of a
          check payable to Petitioner; and

      (2) A lump sum payment of $648.05, representing compensation for
          satisfaction of the Medicaid lien, payable jointly to petitioner 3 and to:

                                      Ohio Tort Recovery Unit
                                   350 Worthington Road,, Suite G
                                      Westerville, Ohio 43082
                                       Case Number 1166063

These amounts represents compensation for all damages that would be available under
§ 15(a).

       The clerk of the court is directed to enter judgment in accordance with this
decision. 4

IT IS SO ORDERED.


                                          s/Brian H. Corcoran
                                          Brian H. Corcoran
                                          Chief Special Master




3
    Petitioner agrees to endorse this payment to Ohio Tort Recovery Unit.
4
  Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by the parties’ joint filing of notice
renouncing the right to seek review.


                                                      2
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               IN THE UNITED STATES COURT OF FEDERAL CLAIMS
                         OFFICE OF SPECIAL MASTERS

                                                     )
 VALORIE SCAMYHORN HODGES,                           )
                                                     )
                Petitioner,                          )
                                                     )   No. 19-78V
 v.                                                  )   Chief Special Master Corcoran
                                                     )   ECF
 SECRETARY OF HEALTH AND HUMAN                       )
 SERVICES,                                           )
                                                     )
                Respondent.                          )
                                                     )

            RESPONDENT’S PROFFER ON AWARD OF COMPENSATION

       On January 16, 2019, Valorie Scamyhorn Hodges (“petitioner”) filed a petition for

compensation under the National Childhood Vaccine Injury Act of 1986, 42 U.S.C. §§ 300aa-1

to -34 (“Vaccine Act” or “Act”), alleging that she suffered a Shoulder Injury Related to Vaccine

Administration (“SIRVA”), as defined in the Vaccine Injury Table, following administration of

an influenza vaccine she received on October 5, 2017. Petition at 1. On March 26, 2020, the

Secretary of Health and Human Services (“respondent”) filed a Rule 4(c) Report indicating that

this case is appropriate for compensation under the terms of the Act for a SIRVA Table injury,

and on March 27, 2020, the Chief Special Master issued a Ruling on Entitlement finding

petitioner entitled to compensation. ECF No. 24; ECF No. 25.

I.     Items of Compensation

       A.     Pain and Suffering

       Respondent proffers that petitioner should be awarded $45,000.00 in pain and suffering.

See 42 U.S.C. § 300aa-15(a)(4). Petitioner agrees.
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       B.       Past Unreimbursable Expenses

       Evidence supplied by petitioner documents that she incurred past unreimbursable
expenses related to her vaccine-related injury. Respondent proffers that petitioner should be
awarded past unreimbursable expenses in the amount of $3,518.95. See 42 U.S.C. § 300aa-
15(a)(1)(B). Petitioner agrees.


       C.       Medicaid Lien

       Evidence supplied by petitioner documents that she has an outstanding Medicaid lien.
Respondent proffers that petitioner should be awarded a lump sum of $648.05, which amount
represents reimbursement of a Medicaid lien for services rendered on behalf of petitioner due to
her vaccine-related injury, in the form of a check payable jointly to petitioner and,
                                     Ohio Tort Recovery Unit
                                  350 Worthington Road, Suite G
                                     Westerville, Ohio 43082
                                      Case Number 1166063

       Petitioner agrees to endorse the check to Ohio Tort Recovery Unit.

       These amounts represent all elements of compensation to which petitioner is entitled

under 42 U.S.C. § 300aa-15(a). Petitioner agrees.

II.    Form of the Award

       Petitioner is a competent adult. Evidence of guardianship is not required in this

case. Respondent recommends that the compensation provided to petitioner should be

made through lump sum payments as described below and requests that the Chief Special

Master’s decision and the Court’s judgment award the following 1: a lump sum payment

of $48,518.95, in the form of a check payable to petitioner, and a lump sum payment of

$648.05, in the form of a check payable to petitioner and Ohio Tort Recovery Unit.


1
  Should petitioner die prior to entry of judgment, the parties reserve the right to move the Court
for appropriate relief. In particular, respondent would oppose any award for future lost earnings
and future pain and suffering.
                                                 2
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III.   Summary of Recommended Payments Following Judgment

A.     Lump Sum paid to petitioner, Valorie Scamyhorn Hodges: $48,518.95

B.     Lump Sum paid to petitioner and Ohio Tort Recovery Unit:     $648.05.

                                          Respectfully submitted,

                                          ETHAN P. DAVIS
                                          Acting Assistant Attorney General

                                          C. SALVATORE D’ALESSIO
                                          Acting Director
                                          Torts Branch, Civil Division

                                          CATHARINE E. REEVES
                                          Deputy Director
                                          Torts Branch, Civil Division

                                          HEATHER L. PEARLMAN
                                          Assistant Director
                                          Torts Branch, Civil Division

                                          /s/ Linda S. Renzi
                                          LINDA S. RENZI
                                          Senior Trial Counsel
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                                          U.S. Department of Justice
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                                          Washington, D.C. 20044-0146
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DATED: August 18, 2020




                                             3
